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				DETAR v. STATE2021 OK CR 34497 P.3d 1215Case Number: F-2019-351Decided: 10/14/2021JUSTIN CECIL DETAR, Appellant v. THE STATE OF OKLAHOMA, Appellee
Cite as: 2021 OK CR 34, 497 P.3d 1215

				

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ORDER VACATING PREVIOUS OPINION
AFFIRMING JUDGMENT AND SENTENCE
AND WITHDRAWING OPINION FROM PUBLICATION



¶1 The previous opinion affirming Appellant's judgment and sentence in this case is hereby VACATED and SET ASIDE based upon questions of state jurisdiction in this matter. See McGirt v. Oklahoma, 140 S.Ct. 2452 (2020). The issuance of the mandate was withdrawn by order dated May 14, 2021, and the case remains pending on rehearing before the Court. The opinion in Detar v. State, 2021 OK CR 9, 489 P.3d 70 is WITHDRAWN. The Court will issue a separate opinion addressing the dispositive issues in Appellant's appeal at a later time.

¶2 IT IS SO ORDERED.

¶3 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 14th day of October, 2021.


/s/SCOTT ROWLAND, Presiding Judge

/s/ROBERT L. HUDSON, Vice Presiding Judge

/s/GARY L. LUMPKIN, Judge

/s/DAVID B. LEWIS, Judge


ATTEST:
/s/John D. Hadden
Clerk


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	Citationizer© Summary of Documents Citing This Document
	
	
		
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	Citationizer: Table of Authority
	
	
		
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	Oklahoma Court of Criminal Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2021 OK CR 9, 489 P.3d 70, WITHDRAWNDiscussed


	
	








				
					
					
				

		
		




	
		
			
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